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                              UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION


 GREGORY J. SLABAUGH,
                                                              CIVIL COMPLAINT
             Plaintiff,

 v.                                                         CASE NO. 1:21-cv-01652

 CHURCHILL CAPITAL CORPORATION
 IV, ATIEVA, INC. d/b/a LUCID MOTORS,                    DEMAND FOR JURY TRIAL
 MICHAEL KLEIN, JAY TARAGIN, and
 PETER RAWLINSON,

             Defendants.


                                           COMPLAINT

       NOW comes GREGORY J. SLABAUGH (“Plaintiff”), by and through the undersigned,

complaining as to the conduct of CHUCHILL CAPITAL CORPORATION IV (“CCIV” or

“Company”), ATIEVA, INC. d/b/a LUCID MOTORS (“Lucid”), MICHAEL KLEIN (“Klein”),

JAY TARAGIN (“Taragin”), and PETER RAWLINSON (“Rawlinson”) (collectively

“Defendants”), alleging the following based upon personal knowledge as to Plaintiff and Plaintiff’s

own acts, and information and belief as to all other matters, based upon, inter alia, the investigation

conducted by and through Plaintiff’s attorneys, which included, among other things, a review of

the Defendants’ public documents, conference calls and announcements made by Defendants,

United States Securities and Exchange Commission (“SEC”) filings, wire and press releases

published by and regarding CCIV and Lucid as well as analysts’ reports and advisories about the

companies and their pending merger, and information readily obtainable on the Internet. Plaintiff

believes that substantial additional evidentiary support will exist for the allegations set forth herein

after a reasonable opportunity for discovery.

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                            NATURE OF THE ACTION AND OVERVIEW

   1. Plaintiff brings this action under the Securities Exchange Act of 1934 (the “Exchange

Act”). Specifically, Plaintiff’s claims asserted herein arise under Sections 10(b) and 20(a) of the

Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the

SEC (17 C.F.R. § 240.10b-5).

                                   JURISDICTION AND VENUE

   2. This action arises under and is brought pursuant to the Exchange Act. Subject matter

jurisdiction is conferred upon this Court by 28 U.S.C. § 1331 and Section 27 of the Exchange Act

(15 U.S.C. § 78aa(c)).

   3. Venue is proper in this Court pursuant to 28 U.S.C. §1391(b) as Defendants conduct

business in the Southern District of Indiana and a substantial portion of the events or omissions

giving rise to the claims occurred within the Southern District of Indiana.

   4. In connection with the acts, transactions, and conduct alleged herein, Defendants directly

and indirectly used the means and instrumentalities of interstate commerce, including the United

States mail, interstate telephone communications, and the facilities of a national securities

exchange.

                                             PARTIES

   5. Plaintiff Gregory Slabaugh is a resident of Carmel, Indiana who purchased CCIV securities

on a number of occasions throughout January and February 2021, and has been damaged as a result

of the federal securities law violations and false and/or misleading statements and/or material

omissions alleged herein.

   6. CCIV is a blank check company, also known as a special purpose acquisition company

(“SPAC”). A SPAC is a company that you can buy stock in that does not have an underlying



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business. SPACs raise money that’s then used to buy a private company, effectively taking that

company public while avoiding the traditional IPO process. CCIV was formed for the purpose of

effecting a merger, capital stock exchange, asset acquisition, stock purchase, reorganization or

similar business combination with one or more businesses. CCIV is a “shell company” as defined

under the Exchange Act because it has no operations and nominal assets consisting almost entirely

of cash. CCIV’ executive offices are located at 640 Fifth Avenue, 12th Floor, New York, NY

10019.

   7. Lucid is an American automotive company specializing in electric cars. The company was

founded in 2007 by CEO Peter Rawlinson, and is based in Newark, California.

   8. Defendant Klein is the Founder, Chairman, CEO, and director of CCIV. He is also the

founder and managing partner of M. Klein and Company, which he founded in 2012. In April

2020, Klein launched CCIV, which raised $2,070,000,000 billion in its IPO and is listed on the

New York Stock Exchange (NYSE: “CCIV”).

   9. Defendant Taragin is CCIV’s Chief Financial Officer. On February 22, 2021, Taragin

signed off on the Agreement and Plan of Merger by and among CCIV and Lucid. Taragin also

signed the Company’s Annual Form 10-K report for the fiscal year ended December 31, 2020 filed

on March 15, 2020 (“FY 2020 10-K”) as the Company’s Chief Financial Officer.

   10. Defendant Rawlinson is Lucid’s Chief Executive Officer. Lucid is an American

automotive company specializing in electric cars. The company was founded in 2007, and is based

in Newark, California. As of 2020, its first car, Lucid Air, is in development. On February 22,

2021, Rawlinson signed the Agreement and Plan of Merger by and among CCIV and Lucid.

   11. Defendants Klein, Taragin, and Rawlinson are collectively referred to herein as the

“Individual Defendants.”



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    12. The Individual Defendants, because of their positions within CCIV and Lucid, controlled

and/or possessed the authority to control the contents of its reports, press releases, and

presentations to securities analysts and through them, to the investing public. By reason of their

management positions and their ability to make public statements in the name of CCIV and Lucid,

the Individual Defendants were and are controlling persons, and had the power and influence to

cause (and did cause) CCIV and Lucid to engage in the conduct complained of herein.

                                      SUBSTANTIVE ALLEGATIONS

                         MATERIALLY FALSE & MISLEADING STATEMENTS

    13. At market close on Friday, January 8, 2021, CCIV was trading at $10.03 a share. On

January 11, 2021, Bloomberg News reported the following:

                 Electric vehicle maker Lucid Motors Inc. is in talks to go public
                 through a merger with one of Michael Klein’s special purpose
                 acquisition companies, according to people familiar with the matter.
                 A transaction could be valued at up to $15 billion, the people said,
                 asking not to be identified because the matter is private. Lucid,
                 which is backed by Saudi Arabia’s sovereign wealth fund, is
                 working with financial advisers, the people added. The talks are
                 ongoing but could still fall apart. Representatives for Lucid Motors
                 and Klein declined to comment. A former Citigroup Inc. rainmaker,
                 Klein has two SPACs that are on the hunt for deals. Churchill
                 Capital Corp IV – the largest one, having raised more than $2 billion
                 last year – is the vehicle considering a deal with Lucid, some of the
                 people said. Klein has played a prominent role in guiding the
                 kingdom’s investments, serving as an adviser to its Public
                 Investment Fund. Among other deals, he advised on the Saudi
                 Aramco initial public offering. Churchill Capital Corp IV jumped as
                 much as 40% in New York trading Monday.”1

    14. At the close of business on January 11, 2021, CCIV’s share price was $13.20.

    15. Plaintiff purchased 10 shares of CCIV stock on January 15, 2021.




1
 https://www.bloomberg.com/news/articles/2021-01-11/lucid-motors-said-to-be-in-talks-t
o-list-via-michael-klein-spac

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    16. By January 22, 2021, the price per share of CCIV had risen to $22.35 due to leaks and

rumors regarding a pending merger with Lucid.2 Writers from various news organizations reported

that a deal was near completion, and that a merger was imminent.

    17. Plaintiff purchase 10 shares of CCIV stock on each of the following dates: January 25,

2021, January 28, 2021, February 1, 2021, and February 3, 2021.

    18. On February 4, 2021, Rawlinson told Forbes Magazine the following:

                Rawlinson wants to make at least 6,000 Airs at a new plant in Casa
                Grande, Arizona, this year, potentially generating $900 million of
                revenue. Volume cold top 25,000 units in 2022 as versions of Air
                priced at $77,000 arrive. Further growth is expected with the 2023
                introduction of an electric crossover, tentatively named Gravity,
                followed by even cheaper and smaller models to compete with
                Tesla’s top-selling Model 3.3

    19. On February 4, 2021, CCIV’s shares closed at $30.22.

    20. On February 5, 2021, Lucid’s CEO, Rawlinson, appeared on CNBC Friday morning with

Jim Cramer and David Faber, sharing his thoughts on his company, plans for growth, the electric

vehicle market, and rumors of a SPAC deal.4 CCIV’s shares closed at $34.65 after Rawlinson’s

comments.

    21. Plaintiff purchased another 50 shares of CCIV stock on February 5, 2021.

    22. On February 16, 2021, Rawlinson appeared on Fox Business News with Neil Cavuto

touting that Lucid was aiming for a spring delivery of its first vehicles.5 In the interview, no

mention was made of any impediments to the stated deliver time-frame. At the end of this same

day, CCIV’s stock price closed at $52.70.


2
  https://investorplace.com/2021/01/cciv-stock-lucid-motors-spac-merger-rumors-send-ch
urchill-capital-climbing-again/
3
  https://www.forbes.com/sites/alanohnsman/2021/02/04/elon-musks-ex-chief-engineer-creates-anew-
car-and-says-it-beats-tesla/?sh=262bc0f05b2e
4
  https://www.cnbc.com/video/2021/02/05/watch-cnbcs-full-interview-with-lucid-motorsceo-
peter-rawlinson.html
5
  https://video.foxbusiness.com/v/6232730504001#sp=show-clips

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      23. By Thursday, February 19, 2021, CCIV’s stock price reached an all-time high of $58.05.

      24. On Monday, February 22, 2021, the long anticipated merger agreement between CCIV

and Lucid was announced. CCIV’s and Lucid’s transaction equity value was estimated at $11.75

billion. CCIV’s share price then closed at $57.37.

      25. Throughout the time the above conduct was engaged in by Defendants, Plaintiff purchased

CCIV securities on a number of occasions throughout January and February 2021, and the

decisions made relative to holding his position were directly impacted by the actions and/or

omissions of Defendants.

                                           THE TRUTH EMERGES

      26. At 6:22 p.m. on February 22, 2021, Ed Ludlow of Bloomberg News reported that

Rawlinson announced that production of its debut car will be delayed until at least the second half

of 2021, with no definite date set for actual delivery of an actual vehicle.6

      27. Details of the merger also disclosed that Lucid was projecting the production of only 557

vehicles in 2021, instead of the 6,000 it had been touting in the run-up to the merger

announcement.7

      28. Between the January 11, 2021 Bloomberg article and the official announcement of the

merger on February 22, 2021, CCIV stock rocketed from $10 to $57, or 470%.

      29. On February 23, 2021, following the merger and never before revealed information from

Rawlinson, the stock plummeted to $35.21, a 38% decline. As of May 21, 2021, CCIV was trading

at $19.78 – and analysts have suggested that CCIV remains overvalued even after its precipitous

decline.

                                      UNDISCLOSED ADVERSE FACTS


6
    https://twitter.com/EdLudlow/status/1364216096249630720
7
    https://www.lucidmotors.com/investors/

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   30. The market for CCIV’s securities was open, well-developed and efficient at all relevant

times. As a result of these materially false and/or misleading statements, and/or failures to disclose,

CCIV’s securities traded at artificially inflated prices. Plaintiff purchased or otherwise acquired

CCIV’s securities relying upon the integrity of the market prices of the Company’s securities and

market information relating to CCIV, and has been damaged thereby.

   31. Defendants materially misled the investing public, thereby inflating the price of CCIV’s

securities, by publicly issuing false and/or misleading statements and/or omitting to disclose

material facts necessary to make Defendants’ statements, as set forth herein, not false and/or

misleading. The statements and omissions were materially false and/or misleading because they

failed to disclose material adverse information and/or misrepresented the truth about CCIV’s

business, operations, and prospects as alleged herein.

   32. At all relevant times, the material misrepresentations and omissions particularized in this

Complaint directly or proximately caused or were a substantial contributing cause of the damages

sustained by Plaintiff. As described herein, Defendants made or caused to be made a series of

materially false and/or misleading statements about CCIV’s and/or Lucid’s financial well-being

and prospects. These material misstatements and/or omissions had the cause and effect of creating

in the market an unrealistically positive assessment of the Company and its financial well-being

and prospects, thus causing the Company’s securities to be overvalued and artificially inflated at

all relevant times. Defendants’ materially false and/or misleading statements resulted in Plaintiff

purchasing the Company’s securities at artificially inflated prices, thus causing the damages

complained of herein when the truth was revealed.

                                         LOSS CAUSATION




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   33. Defendants’ wrongful conduct, as alleged herein, directly and proximately caused the loss

suffered by Plaintiff.

   34. Plaintiff purchased the Company’s securities at artificially inflated prices and was

damaged thereby. The price of the Company’s securities significantly declined when the

misrepresentations made the market, and/or the information alleged herein to have been concealed

from the market, and/or the effects thereof, were revealed.

   35. The timing and magnitude of the common stock and warrant prices decline negates any

inference that the loss suffered by Plaintiff was caused by changed market conditions,

macroeconomic or industry factors, or Company-specific facts unrelated to the fraudulent conduct.

The economic loss – i.e., damages – suffered by Plaintiff was a direct result of the fraudulent

scheme to artificially inflate the Company’s common stock and warrant prices and the subsequent

significant decline in the value of the Company’s common stock and warrants when the prior

misrepresentations and other fraudulent conduct were revealed.

                                    SCIENTER ALLEGATIONS

   36. As alleged herein, Defendants acted with scienter since Defendants knew that the public

statements issued or disseminated in the name of the Company were materially false and/or

misleading; knew that such statements or documents would be issued or disseminated to the

investing public; and knowingly and substantially participated or acquiesced in the issuance or

dissemination of such statements or documents as primary violations of the federal securities laws.

   37. The Individual Defendants knew and/or recklessly disregarded the falsity and misleading

nature of the information that they caused to be disseminated to the investing public. The ongoing

fraudulent scheme described herein could not have been perpetrated over a substantial period of




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time without the knowledge and complicity of the personnel at the highest level of the Company,

including the Individual Defendants .

   38. The Individual Defendants were motivated to materially misrepresent the true nature of

the Company’s business, operations, and financial affairs to the public and regulators in order to

keep the Company’s share price artificially high.

                         APPLICABILITY OF PRESUMPTION OF RELIANCE

   39. The market for CCIV’s securities was open, well-developed, and efficient at all relevant

times. As a result of the materially false and/or misleading statements and/or failures to disclose,

CCIV’s securities traded at artificially inflated prices at the time Plaintiff purchased such

securities. Plaintiff purchased or otherwise acquired the Company’s securities relying upon the

integrity of the market price of CCIV’s securities and market information relating to CCIV, and

has been damaged thereby.

   40. The artificial inflation of CCIV’s shares was caused by the material misrepresentations

and/or omissions particularized in this Complaint, causing the damages sustained by Plaintiff. As

described herein, Defendants made or caused to be made a series of materially false and/or

misleading statements about CCIV’s and/or Lucid’s business, prospects, and operations. These

material misstatements and/or omissions created an unrealistically positive assessment of CCIV

and its business, operations and prospects, thus causing the price of the Company’s securities to

be artificially inflated at all relevant times, and when disclosed, negatively affected the value of

the Company’s shares. Defendants’ materially false and/or misleading statements resulted in

Plaintiff purchasing the Company’s securities at such artificially inflated prices, damaging Plaintiff

in the process.




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   41. At all relevant times, the market for CCIV’s securities was an efficient market for the

following reasons, among others:

           a. Defendants made public misrepresentations or failed to disclose material facts

during the relevant time period;

           b. The omissions and misrepresentations were material;

           c. CCIV securities are traded in an efficient market;

           d. CCIV’s shares were liquid and traded with moderate to heavy volume during the

relevant time period;

           e. CCIV traded on the NASDAQ and was covered by multiple analysts;

           f. The misrepresentations and omissions alleged would tend to induce a reasonable

investor to misjudge the value of the Company’s securities; and,

           g. Plaintiff purchased, acquired, and/or sold CCIV securities between the time the

Defendants failed to disclose or misrepresented material facts and the time the true facts were

disclosed, without knowledge of the omitted or misrepresented facts.

                                         NO SAFE HARBOR

   42. The statutory safe harbor provided for forward-looking statements under certain

circumstances does not apply to any of the allegedly false statements plead in this Complaint. The

statements alleged to be false and misleading herein all relate to then-existing facts and conditions.

In addition, to the extent certain of the statements alleged to be false may be characterized as

forward looking, they were not identified as “forward-looking statements” when made and there

were no meaningful cautionary statements identifying important factors that could cause actual

results to differ materially from those in the purportedly forward-looking statements. In the

alternative, to the extent that the statutory safe harbor is determined to apply to any forward-



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looking statements pleaded herein, Defendants are liable for those false forward-looking

statements because at the time each of those forward-looking statements was made, the speaker

had actual knowledge that the forward-looking statement was materially false or misleading,

and/or the forward-looking statement was authorized or approved by an executive officer of CCIV

and/or Lucid who knew that the statement was false when made.

                COUNT I – VIOLATION OF SECTION 10(B) OF THE EXCHANGE ACT
                        AND RULE 10B-5 PROMULGATED THEREUNDER
                                 AGAINST ALL DEFENDANTS

   43. Plaintiff repeats and realleges each and every allegations contained above as if fully set

forth herein.

   44. At all relevant times, Defendants carried out a plan, scheme, and course of conduct which

was intended to, and did: (i) deceive the investing public, including Plaintiff, as alleged herein;

and (ii) caused Plaintiff to purchase CCIV’s securities at artificially inflated prices. In furtherance

of this unlawful scheme, plan and course of conduct, Defendants, and each defendant, took the

actions set forth herein.

   45. Defendants (i) employed devices, schemes, and artifice to defraud; (ii) made untrue

statements of material fact and/or omitted to state material facts necessary to make the statements

not misleading; and (iii) engaged in acts, practices, and a course of business which operated as a

fraud and deceit upon the purchasers of the Company’s securities in an effort to maintain

artificially high market prices for CCIV’s securities in violation of Section 10(b) of the Exchange

Act and Rule 10b-5. All Defendants are sued either as primary participants in the wrongful and

illegal conduct charged herein or as controlling persons as alleged below.

   46. Defendants, individually and in concert, directly and indirectly, by the use, means, or

instrumentalities of interstate commerce and/or of the mails, engaged and participated in a



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continuous course of conduct to conceal adverse material information about CCIV’s and/or

Lucid’s financial well-being and prospects, as specified herein.

   47. Plaintiff has suffered damages in that, in reliance on the integrity of the market, he paid

artificially inflated prices for the Company’s shares. Plaintiff would not have purchased the

Company’s shares at the price paid, or perhaps at all, if he had been aware that the market prices

had been artificially and falsely inflated by Defendants’ misleading statements.

                COUNT II – VIOLATION OF SECTION 20(A) OF THE EXCHANGE ACT
                             AGAINST THE INDIVIDUAL DEFENDANT

   48. Plaintiff repeats and realleges each and every allegations contained above as if fully set

forth herein.

   49. The Individual Defendants acted as controlling persons of the Company within the

meaning of § 20(a) of the Exchange Act as alleged herein. By virtue of their high-level positions

at the Company, the Individual Defendants had the power and authority to cause or prevent the

Company from engaging in the wrongful conduct complained of herein. The Individual

Defendants were provided with or had unlimited access to the documents described above that

contained statements alleged by Plaintiff to be false or misleading both prior to and immediately

after their publication, and had the ability to prevent the issuance of those materials or cause them

to be corrected so as not to be misleading, yet failed to do so.

   50. As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff suffered

damages in connection with his purchases of the Company’s securities at artificially inflated

prices.

                                       PRAYER FOR RELIEF

          WHEREFORE, Plaintiff prays for relief and judgment as follows:




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           (a) Awarding compensatory damages in favor of Plaintiff against all Defendants,

jointly and severally, for all damages sustained as a result of Defendants’ wrongdoing, in an

amount to be proven at trial, including interest thereon;

           (b) Awarding Plaintiff his reasonable costs and expenses incurred in this action,

including counsel fees and expert fees; and,

           (c) Such other and further relief as the Court may deem just and proper.




Dated: June 11, 2021                                 Respectfully submitted,

s/ Nathan C. Volheim (Lead Attorney)                 s/ Eric D. Coleman
Nathan C. Volheim, Esq. #6302103                     Eric D. Coleman, Esq. # 6326734
Counsel for Plaintiff                                Counsel for Plaintiff
Admitted in the Southern District of Indiana         Admitted in the Southern District of Indiana
Sulaiman Law Group, Ltd.                             Sulaiman Law Group, Ltd.
2500 South Highland Ave., Suite 200                  2500 South Highland Ave., Suite 200
Lombard, Illinois 60148                              Lombard, Illinois 60148
(630) 568-3056 (phone)                               (331) 307-7648 (phone)
(630) 575-8188 (fax)                                 (630) 575-8188 (fax)
nvolheim@sulaimanlaw.com                             ecoleman@sulaimanlaw.com




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